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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                            No.    1:19-mj-103
               Plaintiff,

v.                                                          COMPLAINT
                                                            PENALTY SHEET
JAMES VERNE RUSSELL,

            Defendant.
_____________________________/

CHARGE 1 – Sexual Exploitation of a Child/Production Child Pornography – 18:2251(a) & (e)

Maximum penalty: 15-30 years and/or $250,000 fine [18:3571]

Supervised Release: 5 years to life [18 U.S.C. ' 3583] (Class B Felony, 18:3559)

Special Assessment: [18 U.S.C. ' 3013] $100;

Additional Special Assessment: [18 U.S.C. § 3014] $5,000;

Restitution: [18:3663; Mandatory 18:3663A]

CHARGE 2 - Transportation of child pornography - 18 USC 2252A(a)(1) & (b)(1)

Maximum penalty: 5-20 years and/or $250,000 fine [18:3571]

Supervised Release: 5 years to life [18 U.S.C. ' 3583] (Class B Felony, 18:3559)

Special Assessment: [18 U.S.C. ' 3013] $100;

Additional Special Assessment: [18 U.S.C. § 3014] $5,000;

Restitution: [18:3663; Mandatory 18:3663A]

CHARGE 3 - Possession of child pornography - 18 USC 2252A(a)(5)(B) & (b)(2)

Maximum penalty: 10 years and/or $250,000 fine [18:3571]

Supervised Release: 5 years to life [18 U.S.C. ' 3583] (Class C Felony, 18:3559)

Special Assessment: [18 U.S.C. ' 3013] $100;

Additional Special Assessment: [18 U.S.C. § 3014] $5,000;
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Restitution: [18:3663; Mandatory 18:3663A]

FORFEITURE

Date: April 22, 2019                           /s/Daniel Y. Mekaru
                                               Counsel for the United States

Submitted in accordance with Admin Order 17-MS-046
